
GASKINS, J.,
concurring in part and dissenting in part.
Li concur with the majority opinion, but respectfully dissent on the vacating of the parish prison sentence of 30 days in lieu of the payment of court costs. I disagree that we should, wholesale, vacate alternative jail time (if payment is not made) when we note that a defendant has an indigent defender appointed to his case. The appointment of an indigent defender does not necessarily mean that an analysis of the defendant’s ability to pay has been assessed, but if it was, the assessment was made at the beginning of prosecution. Further, this court continues to reverse this alternative sentence, when the amount of fine (or costs) is minimal. Even if the defendant was unable to pay the legal costs of hiring an attorney, the defendant may be capable of paying the costs of court, a sum of money usually far less than legal fees.
